Case 5:25-cv-00383-SMH-MLH             Document 1       Filed 03/25/25      Page 1 of 15 PageID #:
                                              98
                                                                                      RECEIVED,
                                                                               ^•Soc&^
                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF LOUISIANA MAR
                                    SHREVEPORT DIVISION
                                                                                   DANIEL J.McCOY, CLERK
AMERICAN OUTFITTER, LLC BY;_
 d/b/a LG OUTDOORS, and
AMERICAN FREEDOM, LLC
 d/b/a WHOLESALE HUNTER,

        Plaintiffs,

V.         Civil               Action                     No.


HAYDEL'S GAME CALLS, INC., Hon.


        Defendant. /


 COMPLAINT FOR DECLARATORY JUDGMENT OF NON-INFRINGEMENT, NON-
               COUNTERFEITING, AND RELATED RELIEF

       Plaintiffs American Outfitter, LLC d/b/a LG Outdoors ("LG Outdoors"), and American

 Freedom, LLC d/b/a Wholesale Hunter ("Wholesale Hunter") (collectively, "Plaintiffs" or


 "American"), for their Complaint against Defendant Haydel's Game Calls, Inc. ("Haydel") says:


                                  NATURE OF THE ACTION

        1. American brings this action seeking this Court's declaration to put a stop to


Defendant's unfounded accusations of trademark infringement. For more than 15 years, American


has sold a wide and growing variety of outdoor sporting accessories and other goods in the Amazon


online marketplace. Every one of the products American sells are genuine goods obtained through


legal and proper distribution channels. For reasons known only to Haydel, however, it has


submitted false notices to Amazon accusing American of infhnging its trademark. Each time this


happens, American's sales are interrupted and its standing with Amazon and the public are


diminished. Having failed to resolve these false claims through informal persuasion, and because


Haydel is either unable or unwilling to retract its false infringement reports or to undo the damage
Case 5:25-cv-00383-SMH-MLH             Document 1        Filed 03/25/25      Page 2 of 15 PageID #:
                                              99



they have done to the health rating of American's Amazon accounts, American is now constrained


to seek the assistance of this Honorable Court in redeeming American's good name and putting an


end to Defendant's reckless and baseless accusations.


                                              PARTIES

        2. LG Outdoors and Wholesale Hunter are each an Alabama limited liability company


with its principal place of business in Wetumpka, Alabama. Further, the members of each Plaintiff


are residents of Alabama. Both companies are under common ownership.


        3. Haydel is a Louisiana corporation with its principal place of business located in


5018 Hazel Jones Rd., Dossier City, Louisiana 71111.


                                  JURISDICTION AND VENUE

        4. This is a civil action arising under the Declaratory Judgment Act, 28 U.S.C.


§§2201-2202 andtheLanhamAct, 15 U.S.C. §1051, etseq. Subject matter jurisdiction is conferred


upon this Court under 15 U.S.C. §1121 and28U.S.C. §1331, 1332, 1338,and 1367.


        5. More specifically, this Court has federal question subject matter jurisdiction over


this declaratory judgment action because Defendant has made accusations of federal trademark


infringement against American.


       6. This Court has supplemental jurisdiction over the state law claims alleged herein


because their subject matter is so inextricably linked to the federal claims as to form one


controversy.


       7. Additionally, this Court has diversity jurisdiction over these claims, because the


parties are residents of different states, and the amount in controversy is greater than $75,000.


       8. This Court has personal jurisdiction and venue over Defendant because Defendant


is incorporated in Louisiana, and its principal place of business is in Bossier City, Louisiana.
Case 5:25-cv-00383-SMH-MLH              Document 1        Filed 03/25/25        Page 3 of 15 PageID #:
                                              100



        9. American initially sought relief for these claims against Defendant in the Middle

District of Alabama (Case No. 2:24-cv-00391-SMD). Chief Magistrate Judge Stephen Michael

Doyle dismissed the action after finding that there was no personal jurisdiction over Defendant in


Alabama. In it motion papers seeking that dismissal, Defendant conceded that jurisdiction and


venue were proper in this Court.


                      FACTS COMMON TO ALL CLAIMS FOR RELIEF

        American's Amazon Accounts


        10. LG Outdoors and Wholesale Hunter operate eponymous virtual storefronts within


the Amazon.com online marketplace (the "Storefronts"). Each is a successful, profitable business


operation and has developed a growing customer base over their years of operation.


        11. Exactly as any comparable brick-and-mortar retail store would do, American's


Storefronts offer for sale products that appeal to their target consumers that come from a variety


of manufacturers.


        12. More than 10,000 products are available through each Storefront, from over a dozen


separate manufacturers.


        13. Each product sold through the Storefronts is a genuine product obtained by


American through legitimate means.


        14. Additionally, with respect to the products at issue in this case and others, American


acts merely as a drop shipper for Amazon. In other words, Amazon itself lists the product for sale,


using information of its choosing, and fulfills orders for the products through the Storefronts and/or


any other seller who informs Amazon that they have inventory of the product. When Amazon sells


the product, it receives payment, then instructs the seller (whether American or another seller)



' Located at (https://www.amazon.com/s?me=A2B2TXVNKFJH7I&marketplaceID=ATVPDKIKXODER) and
fhttps://www.amazon.cotn/s?i=merchant-items&me=A3TLY47US33C3C), respectively.
Case 5:25-cv-00383-SMH-MLH               Document 1        Filed 03/25/25       Page 4 of 15 PageID #:
                                               101



where to ship it.


        Defendant's Reckless and False Infrinsement Accusations


           15. Haydel sells game calls.


           16. On or about May 1, 2024, Haydel filed complaints with Amazon falsely asserting


that products being sold by Wholesale Hunter and LG Outdoors were "counterfeit" products


bearing its trademark—specifically, U.S Trademark Reg. 5884266 for the mark HAYDEL'S


GAME CALLS INC. (Exhibit A.)

        17. Also in or about May 2024, Haydel filed several trademark infringement


complaints with Amazon alleging that certain products being sold by Wholesale Hunter and LG


Outdoors infringed its trademark—specifically, U.S Trademark Reg. 5884266 for the mark


HAYDEL'S GAME CALLS INC. (Exhibit B.)

        18. The text of Haydel's infringement complaints to Amazon read substantially as


follows:


        The product has a label applied to it or a logo on the packaging that reads
        "Haydel's Game Calls, Inc. " and is included in a listing that is branded "Haydel's
        Game Calls". I own the trademark for "Haydel 's Game Calls, Inc" and this
        product should not be branded "Haydel 's Game Calls ".


        19. The listing excerpted below is materially identical to the ones Haydel complained

about, except that it identifies a different seller ("Gritr") instead of one of the Storefronts:
Case 5:25-cv-00383-SMH-MLH                                                 Document 1                            Filed 03/25/25                                 Page 5 of 15 PageID #:
                                                                                 102




   Sports & Outdoors Outdocr Pecreoticn tkjnt'nq Fehing& fcojtmg Cycling E-tCfCise ^ Fitness Sports Golf Garrn1 Room & Outdoor Games Fsrehop S^lutiUciili




                                                                                      t ^aydels Game Calls'BBfcBarrelled Cutdown prime


  Q
                                                                                            J^llarri n.irl/r^[J_                                                      Enjoy fast, free delivery,
                                                                                       ^_ Brand Haydel's Game Calb                                                    exclusive deals, and award-
                                                                                                                                   Srgrchthis page                    winning movies & TV shows
                                                                                                                                                                      with Prime
                                                                                             l24M                                                                     ^^y Prime and start saving today
                                                                                                                                                                      with fast, free delivery
                                                                                             Get Fast, Free Shipping with Am          Prn
                                                                                             FREE Returns -
                                                                                                                                                                     [ Delivery ] | Pickup
                                                                                               S IT,1 [Ki<-

                                                                                               Get i 10 off mstsi-lly. PayS 1468 T^*-6Q»j^o'i3pFf07al far '.f         S24"-
                                                                                               StLi(^Cjfd.f;o.3(inujtfec.
                                                                                                                                                                      Get Fast, Free Shipping v.ith

                                                                                               Produces the sounds and feeding calls of a maltard hen
                                                                                               Aggressively tuned

                                                                                               Large barrel design lets in air for a loud call                        FREE delivery Saturday, July 6
                                                                                                                                                                      an orders shipped by Amazon
                                                                                               AcryLic bottom helps produce sharp, crisp sounds
                                                                                                                                                                      over$35
                                                                                               Proven ability to blow wet
                                                                                                                                                                      Or fastest delivery Tomorrow,
                                                                                             [^J Report an issue with this pfuduct or setlei                          July 2. Order within 50 mini

                                                                                                                                                                      ^ i>j'i.^rir.7T^Cd, m&.,;4i2?&
                                                                                                                                                                          'Jp^te lc^ticn


                                                                                                                                                                      Only 6 left in Stock-order


                                     Roll over image to 20om ii




    Price history




            20. These allegations do not describe trademark counterfeiting or infringement.


            21. Haydel's complaints begin by accurately noting that the product depicted in the

listing bears the HAYDEL'S GAME CALLS INC. That is because the product being sold is a

genuine Haydel product. It is not a counterfeit or an infringement of Haydel's trademark to use


that trademark in order to accurately describe HaydeFs product.


            22. Haydel's complaint then goes on to state that the product "is included in a listing


that is branded 'Haydel 's Game Calls'... [instead of] 'Haydel 's Game Calls, Inc '. " In the example


screenshot above, that abbreviation appears in the listing header as well as the "Brand" line directly


underneath it.


            23. In other words, Haydel's entire theory of trademark infringement hinges on


whether the Amazon listing appends the abbreviation "Inc." to Haydel's company name.
Case 5:25-cv-00383-SMH-MLH                 Document 1          Filed 03/25/25        Page 6 of 15 PageID #:
                                                 103



         24. Abbreviating Haydel's corporate name in this manner is not a trademark


counterfeiting or infringement, for several reasons. For one thing, by Haydel's own admission, the


full mark (as Haydel prefers it) does appear in the listing—on the product itself. For another, to


identify Haydel without the "Inc." (whether standing alone or in adjacent references) does nothing


to cause customer confusion. Neither the Storefronts nor Amazon in this instance are purporting


to be a different company named "Haydel's Game Calls" as opposed to "Haydel's Game Calls


Inc." It is merely an abbreviation ofHaydel's name and mark.


        25. Long-standing trademark law confirms that the "Inc." portion of a company's name


does nothing to distinguish a mark or product, and carries no independent trademark significance.


See, e.g., Goodyear's Rubber Mfg. Co. v. Goodyear Rubber Co., 128 U.S. 598, 602 (1888).


        26. Indeed, the USPTO required Haydel to disclaim trademark rights in the entire

phrase "GAME CALLS INC." before it would register Haydel's trademark.


        27. This common-sense fact is further demonstrated by Haydel's own frequent use of


"Haydel's Game Calls" (without the "Inc.") to refer to itself on its own website and products: 2




2 Examples from https://www.havdels.com/collections/accessories/products/tk-01-tune-up-kit-double-reed-mallard
and httDS://www.havdels.com/pages/about-us,
Case 5:25-cv-00383-SMH-MLH   Document 1   Filed 03/25/25                   Page 7 of 15 PageID #:
                                   104




                                                                                a.
                                                                      0-


                                                                            n
                                                                  0
                                                        c
                                                             7;
                                             .5 ^




                                                                                £
                                                    0




                                                                           co
                                                                  0
                                                        -D




                                                                  c
                s
          g
            I
           ^g

                u>
        c
        c
        00
        0
        -I
        >
Case 5:25-cv-00383-SMH-MLH            Document 1        Filed 03/25/25      Page 8 of 15 PageID #:
                                            105



        28. Further, American has no input into how Amazon chooses to describe the goods in


question. American merely reports to Amazon that it has inventory of goods bearing certain UPC


codes, and then relies on Amazon to populate and publish the listing.


        29. In response to Haydel's complaint, Amazon suspended part or all of the Wholesale


Hunter Storefront for several days. American lost a significant amount of sales revenue during that


downtime. Sales for comparable periods of time suggest that the amount of lost revenue far exceeds


$75,000.

       30. Further, each trademark complaint that Amazon receives regarding a seller's


account reduces what Amazon calls the seller's "Account Health Rating." A decreased rating


results in restrictions and punishments levied on the account by Amazon, including but not limited


to suspension or deactivation of an account.


       31. On information and belief, Haydel has also made additional false statements about


American and its alleged violation ofHaydel's trademark rights.


       32. Each of the foregoing false accusations that Haydel has made about American,


along with any other similar false statements that American has yet to discover (the "Accusations")


has reduced Amazon's Account Health Rating for American's Storefronts.


       33. Indeed, as a result of the damage Haydel did to the Storefronts' heath ratings,


Amazon has subsequently disabled the Wholesale Hunter Storefront again, after having restored


it for only a handful of days. At this point, the Wholesale Hunter account may be permanently


disabled.


       34. On multiple occasions in May and June 2024, representatives of American


contacted Haydel by email and by phone to explain the situation and request that it retract the


Accusations.




                                                8
Case 5:25-cv-00383-SMH-MLH            Document 1        Filed 03/25/25     Page 9 of 15 PageID #:
                                            106



        35. On one phone call in particular, on June 20, 2024, representatives ofHaydel made


clear that Haydel's false Accusations are misdirected. During the call, American's representative


attempted to explain why American is not infringing any of the Haydel marks, and Hay del's


representative explained that Haydel has a problem with a second, unknown Haydel brand being


listed on Amazon.


        36. On the June 20 call, Hay del's representative expressly acknowledged, "Amazon


really is the one who needs to resolve that," referring to the problem with Hay del's branding on


Amazon.


        37. Additionally, on the June 20 call, Haydel's further acknowledged that American


was not the entity responsible for Hay del's brand problems on Amazon, stating that "someone


else" made the Haydel brand and that they did so "improperly."


        38. Despite acknowledging it was "impossible to know who" created the second


Haydel brand, Haydel's representative refused to try to reverse the damage it had dealt to American


and its Storefronts.


        39. The June 20 call revealed yet another motivation for the false Accusations.


Haydel's representative explained that sellers on Amazon "undercut every one of [her] dealers."


The Haydel representative made clear, "that's the only reason why I've gotten on Amazon and


tried to fight the representation on Amazon." American continued to explain why Haydel needed


to retract the Accusations, but Haydel refused.


       40. Indeed, American tried to adjust its listings to comply with Haydel's wishes, but


Haydel actively prevented it from doing so.


       41. In sum, despite hours of conversation between the parties between May and June,


Haydel refused to retract the Accusations.
Case 5:25-cv-00383-SMH-MLH             Document 1 Filed 03/25/25           Page 10 of 15 PageID #:
                                              107



           42. American learned from these conversations that one of Haydel's primary


 motivators is to control the price at which American and other resellers offer Haydel products.


 Specifically, Haydel has set MAP (or minimum advertised price) figures for its products, and is

 using trademark law to punish resellers who either don't have Haydel's permission to sell its goods


 or who offer them for less than the MAP. Indeed, when American reached out to Haydel in an


 effort to resolve its concerns with the Amazon listings, Haydel refused to cooperate, saying "You


 did not have permission to sell them on Amazon to start with and have been violating MAP for


 years."



           43. Yet trademark law does not give Haydel the power to do either of these things.


 Once American acquires Haydel products from Hay del's authorized wholesalers, the trademark


exhaustion doctrine deprives Haydel of the right to exercise any further control over who resells


the products or over what price they charge.


           44. All of the information about the Haydel products in American's Amazon listings


was supplied by Haydel to Amazon.


           45. There is nothing inaccurate or "inauthentic" about the products or information in


American's listings. Haydel simply wants to control how third parties describe and sell its goods,


in ways that trademark law does not permit. And it was willing to sully and slander American's


good name with Amazon in order to accomplish that anti-competitive goal.


           46. Upon information and belief, Haydel had other means of mitigating this problem


instead ofdefaming American, as Defendant apparently controls the information on American's


listings ofHaydel's products. Comparing Amazon product sale listings offered by American in the


past with present-day listings shows Haydel was able to change the "Brand" listed under "Product


Information" to "Haydel's Game Calls Inc." (Exhibit C, Cached and Current Listings.) It is thus




                                                 10
Case 5:25-cv-00383-SMH-MLH             Document 1 Filed 03/25/25            Page 11 of 15 PageID #:
                                              108



 unknown why Haydel deliberately made American collateral damage in what appears to be a


 dispute among Haydel, Amazon, and some other third-party.


         47. On information and belief, Haydel has permitted, or at least chosen not to object,


 to other third-party sellers selling Haydel goods under the "Haydel Game Calls" brand tag on


 Amazon.


         48. This further demonstrates that Haydel's real motivation here is to punish American


 and to control who may resell its products, rather than to protect any legitimate trademark rights.


         49. Further, on information and belief, at least some ofHaydel's trademark complaints


 are barred (a) by laches, in light of the amount of time Haydel was aware of American's listings


 without acting, to American's prejudice, and/or (b) because they pre-date Haydel's trademark


 registration.


         50. As of this filing, despite Hay del's claim to have retracted its complaints, it appears


that Defendant still has not withdrawn its Accusations, and suspension of one or more of the


 Storefronts by Amazon remains a distinct possibility. Indeed, because of the injury Haydel has


done to its Amazon Health Rating, the Wholesale Hunter account may already be permanently


disabled.


         51. But for the false accusations of trademark infringement and counterfeiting that


Haydel made against American, both Storefronts would still be in business today, and would never


have been taken down at any point during the relevant time period (i.e., the period beginning with


Hay del's first Accusation).


         52. American has been injured by Defendant's reckless and unfounded actions,


including but not limited to lost sales, decreased goodwill with customers and potential customers,


decreased standing with Amazon, and the lost time and distraction caused by needing to respond




                                                 11
Case 5:25-cv-00383-SMH-MLH              Document 1 Filed 03/25/25               Page 12 of 15 PageID #:
                                               109



 to the Accusations.


        53. American has a reasonable apprehension that Defendant will continue to submit


 similar Accusations against American to Amazon in the future, causing further injury to American.


 Indeed, Haydel's representative has pledged to continue her ill-founded trademark campaign.


        54. Defendant did not have sufficient evidence to support its Accusations, nor did


 Defendant conduct the requisite investigation before making its Accusations.


                                               COUNT I
                                        Declaratory Judgment


        55. American incorporates by reference herein each of the foregoing paragraphs.


        56. There is an actual controversy within the jurisdiction of this Court between


American and Haydel as to the matters described herein—in particular, whether or not American


has infringed or counterfeited Hay del's trademarks, and whether or Haydel acted without


justification in causing Amazon to take punitive action against American.


        57. It would serve the interests of justice for this Court to grant American's requested


relief and declare the respective rights and legal relations of the parties with respect to these issues.


        58. For the reasons stated above and other reasons, American is entitled to a declaration


that it has not infringed, counterfeited, or otherwise violated any trademark rights that Haydel may


have.



        59. This is an extraordinary case as defined by the Lanham Act.


        60. American is further entitled to recovery of monetary damages incurred as a result


of Defendant's Accusations, as well as recovery of its costs and legal fees under the Lanham Act


and any other relevant authority, and to an injunction prohibiting Defendant from making similar


Accusations against American in the future without supporting evidence.




                                                   12
Case 5:25-cv-00383-SMH-MLH          Document 1 Filed 03/25/25         Page 13 of 15 PageID #:
                                           110



                                          COUNT II
                                          Defamation
           (Under Louisiana Law; La. Civ. Code Ann. art. 2315 and/or Alabama Law)


        61. American incorporates by reference herein each of the foregoing paragraphs.


        62. The Accusations are false. American did not infhnge Haydel's trademarks.


        63. The Accusations are defamatory per se, as they tended to injure American's


 business reputation and accused American of committing a crime.


        64. The Accusations caused actual injury to American's reputation with both


 consumers and with Amazon, and caused American to lose business revenue.


        65. Defendant published the Accusations to third parties, including at a minimum to


 Amazon.


        66. Defendant were not privileged to make the Accusations.


        67. Defendant made the Accusations negligently.


        68. Defendant made the Accusations with reckless disregard as to whether or not they


were false.


        69. On information and belief, Defendant made the Accusations with actual knowledge


that they were false.


        70. American is a private, not public, figure with respect to the Accusations for the


purposes of defamation law.


        71. Defendant is liable to American for defamation.


        72. Defendant is liable for actual damages, presumed damages, and exemplary/punitive


damages.


                                         COUNT IV
                 Intentional Interference With Business/Contractual Relations
           (Under Louisiana Law; La. Civ. Code Ann. art. 2315 and/or Alabama Law)




                                              13
Case 5:25-cv-00383-SMH-MLH             Document 1 Filed 03/25/25             Page 14 of 15 PageID #:
                                              111



         73. American incorporates by reference herein each of the foregoing paragraphs.


         74. American had, and has, a protectable interest with potential and actual consumers


 of the products it offers through the Storefronts.


         75. American had, and has, a protectable interest in its relationship with Amazon.


         76. Defendant was aware of these protectable interests.


         77. Defendant was a stranger to these protectable interests.


         78. Defendant intentionally interfered with these protectable interests.


         79. Defendant interfered for an improper motive—i.e., for monopolistic, anti-


 competitive reasons and to control the actions of third-party sellers that exceed what trademark


 law allows.


         80. Defendant's intentional conduct was motivated out of spite or ill will, not merely


 by a profit motive.


         81. American was damaged as a result of Defendant's interference.


         82. Defendant is liable to American for, among other things, (1) the pecuniary loss of


 the benefits of its relations with Amazon and with its potential customers; consequential losses for


 which the interference is a legal cause; emotional distress or actual harm to reputation if either is


 reasonably to be expected to result from the interference; and (4) punitive damages.


                                      PRAYER FOR RELIEF

        WHEREFORE, American prays that the Court enter judgment against Defendant and grant


 American the following relief:

        A. A declaration that American has not infringed or counterfeited any trademark rights


                that Haydel or any of its clients may have.




                                                  14
Case 5:25-cv-00383-SMH-MLH            Document 1 Filed 03/25/25              Page 15 of 15 PageID #:
                                             112


        B. Permanent inj unctive relief forbidding Defendant from making similar Accusations


                against American without credible supporting evidence.


        C. Recovery of its costs and legal fees under the Lanham Act and any other relevant


                authority.


        D. Award American other such relief, in law or in equity, as this Court deems


                appropriate.




                                             Respectfully submitted,

  Date: March 21, 2025 WARNER NORCROSS + JUDD LLP
                               Attorneys for Plaintiffs

                                               By: /S/BHM D. h/assiiiK
                                                   Brian D. Wassom (MI Bar No. P60381)
                                                     Motion to appear pro hac vice pending
                                               12900 Hall Road, Suite 200
                                               Sterling Heights, MI 48313
                                               (586)303-4139
                                               bwassom@wnj .corn




                                 CERTIFICATE OF SERVICE

        I certify that on March 21, 2025, the foregoing document was filed with the Clerk of the
 Court, via the ECF system, which will provide electronic notification of the filing upon all
parties of record.
                                                              /s/ Denise A. Keilch
                                                                Denise A. Keilch




                                                15
